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                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                       Plaintiff,
  vs.                                                                  No. CR 06-1828 WJ

JULIO CESAR MEDINA,

                       Defendant.


                       MEMORANDUM OPINION AND ORDER
                 DENYING MOTION FOR BAIL REVIEW AND RELEASE

        THIS MATTER is before the Court on Defendant Julio Cesar Medina’s (“Medina”) Motion

for Bail Review [Doc. 135]. The United States of America filed its response in opposition [Doc.

136]. No reply was filed.

        The Court has judicially noticed its own records. Fed. R. Evid. 201(c); St. Louis Baptist

Temple, Inc. v. FDIC, 605 F.2d 1169, 1172 (10th Cir. 1979)(a court may take judicial notice of its

own records whether it is asked to or not). In taking judicial notice, the Court considered the

Indictment and the earlier findings issued at the detention hearing. The Court also reviewed and

considered Probation/Pretrial Service’s report and recommendation.

        Medina was indicted on August 22, 2006, and charged with a violation of 21 U.S.C. §

841(a)(1), possession with intent to distribute a controlled substance. This drug-trafficking crime is

governed by a presumption of detention under 18 U.S.C. § 3142.

        Pursuant to 18 U.S.C. § 3142(e), known as the “drug-and-firearm-offender” provision, it is

presumed that no conditions of release will reasonably ensure the defendant’s appearance and the

safety of the community where a judicial officer finds probable cause to believe that the defendant has

committed certain enumerated offenses. One of the enumerated offenses is drug trafficking, where
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the penalty is ten years’incarceration or more. Medina is charged with a crime that comes within the

presumption.

       In this case, a Grand Jury returned an Indictment against Medina. By virtue of the Indictment,

a judicial officer need not make an independent finding of probable cause to invoke the drug-and-

firearm-offender presumption. United States v. Stricklin, 932 F.2d 1353, 1355 (10th Cir. 1991). The

Indictment itself establishes probable cause that Medina committed the offense and triggers the

presumption that he poses a danger to the community and is a flight risk.

       When the presumption is applicable, as it is here, the defendant bears the burden of production

of evidence demonstrating the existence of conditions under which he can safely be released without

significant risk of flight or risk of harm to the community.

       At the initial detention hearing conducted in this case, the Court found that the presumption

was applicable and had not been overcome. Specifically, the Court considered that Medina, though

young in years, had amassed a fairly significant juvenile record. The charges against him included,

among other things, larceny, conspiracy, receipt of stolen property, possession of alcohol, possession

of marijuana, aggravated battery, unlawfully carrying a deadly weapon on school property,

resisting/evading/obstructing an officer, and various driving offenses.

       Medina failed to appear in court at various times and the Children’s Court issued more than

one warrant for his arrest. Ultimately, consent decrees were entered and Medina was placed on

probation. However, due to violations of conditions of probation, his probation was first extended

and then revoked. He was ultimately placed in the custody of Children, Youth and Families

Department for a period of a year, and paroled in February 2006. The offenses in this case occurred

between March 7, 2006 and August 15, 2006, during the time Medina was on parole for his juvenile

offenses.

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       At the time of Medina’s appearance for his detention hearing, the Court was apprised of the

existence of an outstanding felony warrant in New Mexico’s Metropolitan Court on a charge of

receipt of a stolen vehicle. The bail report prepared by the Court’s Probation/Pretrial Service officer

showed numerous failures to appear for court in response to court proceedings. The Court’s Pretrial

officer recommended that Medina be detained.

       The factors which the Court is required to consider under § 3142(g) in determining whether

to initially release Medina included the following:

       1. The nature and circumstances of the offense charged, including whether the

       offense is a crime of violence or involved a narcotic drug;

       2. the weight of the evidence against the person;

       3. the history and characteristics of the person, including–

               (a) the person’s character, physical and mental condition, family ties,

               employment, financial resources, length of residence in the

               community, community ties, past conduct, history relating to drug or

               alcohol abuse, criminal history and record concerning appearance at

               court proceedings;

               (b) whether, at the time of the current offense or arrest, the person

               was on probation, on parole, or on other release pending trial,

               sentencing, appeal or completion of sentence for an offense under

               federal, state or local law; and,

               (c) the nature and seriousness of the danger to any person or the

               community that would be posed by the person’s release.



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        In considering these factors, the Court took into account the nature and circumstances of the

offense and specifically noted that it involved a narcotic drug and, more specifically, an allegation of

drug trafficking. Congress regards this offense as dangerous. “The legislative history of the statute

[18 U.S.C. § 3142] indicates that Congress regards drug trafficking as a danger to the community.”

Adair, David N., Jr., The Bail Reform Act of 1984 8 (3d ed. 2006), citing S. Rep. No. 98-225, at 12-

13 (1983), reprinted in 1984 U.S.C.C.A.N. 3182, 3195-96. See United States v. Williams, 753 F.2d

329, 335-38 (4th Cir. 1985)(district court erred in failing to take into account drug dealing as a

danger to the community).

        The Court was required to and did consider the weight of evidence against Medina. A Grand

Jury made a determination of probable cause to believe that Medina committed this offense. Thus,

there is more than a mere scintilla of evidence. The Grand Jury’s conclusion after hearing the

government’s evidence was that Medina more likely than not committed the crime.

        The Court was also required to consider Medina’s history and characteristics. The Pretrial

Services Report shows that Medina resided with his parents and, at the time of his arrest, was

unemployed. He had no assets or liabilities and his work history had been sporadic and significantly

limited. Medina did not discuss his drug or alcohol abuse, but his criminal history showed charges

relating to both use and abuse of alcohol and drugs.

        The Court was further required to consider Medina’s record concerning prior appearances.

The Pretrial Services Report showed at least five arrest warrants issued as a result of Medina’s failure

to appear in Children’s Court at various times. It showed four failures to appear for traffic-related

matters, as well as two outstanding warrants--one for driving while intoxicated, and one felony

offense of receipt of a stolen vehicle.



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        The Pretrial Services Report also showed evidence that Medina had used various personal

identifiers and aliases. He used different dates of birth and social security numbers. For example, his

arrest history is also carried under the name Hugo Cesar Rivera, with birth dates of 3-25-87 and 8-8-

86. Social security numbers ending in 2208 and 1287 have also been used by Medina. The birth and

social security numbers do not belong to Medina.

        Finally, the Court is required to consider whether, at the time of his arrest, Medina was on

probation, parole or other release. As indicated, Medina was on State parole from February 23, 2006

until June 21, 2006 when he was unsatisfactorily discharged. The applicable dates of the alleged

criminal activity are between March 7, 2006 and August 15, 2006. Medina was on conditions of

parole at the time of the conduct charged by the Grand Jury. Indeed, some of the acts occurred

within two weeks of his being placed on parole.

        For all these reasons, the Court found that Medina posed both a danger to the community and

was a flight risk, and, therefore, ordered that he remain in custody.

        The statute provides that a detention hearing “may be reopened before or after a

determination by the judicial officer at any time before trial if the judicial officer finds that information

exists that was not known to the movant at the time of the [initial] hearing . . . .” 18 U.S.C. §

3142(f).

        Section 3142(f) authorizes reopening the detention hearing when material information “that

was not known to the movant at the time of the hearing” comes to light. United States v. Dillon, 938

F.2d 1412, 1415 (lst Cir. 1991). Medina, however, does not mention any new evidence that was

unavailable at his earlier hearing. To the contrary, he simply argues that he is incarcerated; is a life-

long resident of Albuquerque; that he has a minimal criminal history; that he is neither dangerous, nor

will he flee; that he intends to seek employment; and that he will comply with all conditions of release.

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        These are essentially the same arguments previously offered and rejected. Many courts have

interpreted § 3142(f) strictly, holding that hearings should not be reopened if the evidence was earlier

available. See, e.g., United States v. Dillon (holding district court’s refusal to reopen detention

hearing not in error where information in affidavits and letters appellant sought to present was earlier

available); United States v. Hare, 873 F.2d 796, 799 (5th Cir. 1989)(affirming refusal to reopen

hearing because proffered testimony was not “new” evidence, although remanding for consideration

of defendant’s due process claim).

        In his present motion, Medina does seek halfway house placement. However, a co-defendant

who was arrested on the same charges currently resides at La Pasada.1

        Circumstances have not changed since the Court’s initial hearing, and no new evidence is

proffered to rebut the presumption under 18 U.S.C. § 3142.

        IT IS THEREFORE ORDERED that Medina’s motion for release is DENIED.2 There is no

need for an evidentiary presentation or oral argument.


                                                           ____________________________________
                                                           Lorenzo F. Garcia
                                                           Chief United States Magistrate Judge




        1
         Standard conditions of release preclude a defendant from having any contact with a co-defendant.
        2
         This denial is consistent with Probation/Pretrial’s recommendation that the motion be denied for
the following reasons: (1) lack of employment; (2) prior failures to appear in court; (3) outstanding arrest
warrants; (4) use of other names and identifiers; (5) past poor performance under community supervision;
(6) nature of the alleged offense; (7) significant/noteworthy arrest/conviction history; (8) ongoing/long-term
involvement in similar history; and, (9) history of violence.

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